 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 1 of 21 PageID# 362



             IN THE UNITED STATES DISTRICT COURT FOR
                     EASTERN DISTRICT OF VIRGINIA
                         Alexandria Division                        NJB-8 2012           1
                                                             CLERK, U.S. DISTRICT UUurtT
                                                                  ALEXANDRIA. VIRGINIA
UNITED STATES OF AMERICA

     V
                                              l:12crl27   {LMB)


JOHN KIRIAKOU


             Defendant

                          MEMORANDUM OPINION


     Before the Court is defendant John Kiriakou's ("Kiriakou"

or "defendant") Motion to Dismiss Counts 1, 2, 3 and 4 of the

Indictment for Vagueness and Overbreadth ("Motion"), which has

been fully briefed and argued by the parties.          For the reasons

discussed below, the Motion will be denied.

                            I.    BACKGROUND1

     On April 5, 2012, the grand jury returned a five-count

indictment charging Kiriakou with one count of disclosure of

information identifying a covert agent in violation of 50 U.S.C.

§ 421(a)   (Count I), three counts of disclosure of national

defense information in violation of 18 U.S.C.         § 793(d)     (Counts

II-IV), and one count of trick and scheme to conceal a material



1 For purposes of the Motion, the Court relies on the facts as
alleged in the indictment.       See United States v. Rosen, 445 F.
Supp. 2d 602, 607 n.2 (E.D. Va. 2006); see also United States v.
Huet, 665 F.3d 588, 595 (3rd Cir. 2012) ("In evaluating a Rule
12 motion to dismiss, a district court must accept as true the
factual allegations set forth in the indictment." (citations
omitted)).
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 2 of 21 PageID# 363



fact in violation of 18 U.S.C. § 1001(a)(1)         (Count V).   See Dkt

No. 22 (indictment).2 Kiriakou now moves to dismiss counts I

through IV, arguing that the charging statutes are

unconstitutionally vague and overbroad.

     A.   Kiriakou's Employment with the CIA

     While an employee of the CIA from 1990 to 2004, Kiriakou

held a Top Secret security clearance, had access to Sensitive

Compartmented Information ("SCI"), and "had regular access to

classified and national defense information relating to CIA

programs, operations, methods, sources, and personnel."

Indictment tH 5-6.    In January 1990, before starting his

employment with the CIA, Kiriakou entered into a secrecy

agreement, in which he agreed as follows:

     I understand that     in the course     of    my employment... I
     may be given access to information or material that is
     classified or is in the process of a classification
     determination...that,     if   disclosed     in an unauthorized
     manner would jeopardize intelligence activities of the
     United States Government.    I accept that by being
     granted access to such information or material I will
     be placed in a position of special confidence and
     trust and become obligated to protect the information
     and/or material from unauthorized disclosure.

     In  consideration for being employed or otherwise
     retained   to   provide  services   to   the  Central
     Intelligence Agency, I hereby agree that I will never
     disclose in any form or any matter, to any person not


2 In Count V, not a subject of the instant Motion, the Government
alleges that Kiriakou lied to the CIA's Publications Review
Board in seeking authorization to publish his memoirs when he
falsely stated that certain portions of the book relating to a
classified investigative technique were fictionalized.
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 3 of 21 PageID# 364



    authorized by the Central Intelligence Agency to
    receive it, any information or material... that I know
    is      classified...or        is        in     the   process        of      a
    classification determination....

     I understand that...the disclosure of information that
     I     agreed   herein     not      to    disclose     can,     in        some
     circumstances, constitute a criminal offense....

     I understand that nothing in this agreement limits or
     otherwise affects any provision of criminal or other
     law that    may be applicable     to the authorized
     disclosure           of            classified               information,
     including...section 793[]...of Title 18, United States
     Code....


Id. H 7(a) (alterations in original).                Kiriakou also signed a

non-disclosure agreement related to his access to SCI, which in

pertinent part read:

     I hereby acknowledge that I have received a security
     indoctrination concerning the nature and protection of
     SCI,  including the procedures to be followed in
     ascertaining   whether  other   persons   to  whom   I
     contemplate disclosing this information have been
     approved for access to it, and that I understand those
     procedures....

     I     have   been   advised     that         unauthorized    disclosure,
     unauthorized  retention,  or   negligent  handling  of
     classified information by me could cause irreparable
     injury to the United States or could be used to
     advantage by a foreign nation.   I hereby agree that I
     will never divulge anything marked as SCI or that I
     know to be SCI to anyone who is not authorized to
     receive it without prior written authorization from
     the      United      States        Government         Department           or
     agency... that last authorized my access to SCI.     I
     understand that it is my responsibility to consult
     with   appropriate  management  authorities   in  [the
     agency] that last authorized my access to SCI, whether
     or not I am still employed by or associated with [the
     agency]....
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 4 of 21 PageID# 365



     In addition, I have been advised and am aware that any
     unauthorized disclosure of SCI by me may constitute a
     violation or violations of Untied States criminal
     laws,       including   the     provisions      of...Section!]
     793...[of] Title 18, United States Code....

Id. 1 7(b) (alterations in original).        According to the

indictment, Kiriakou subsequently entered into at least seven

additional non-disclosure agreements with similar provisions

related to the disclosure of classified information.           Id. H 8.

     B.   Classified Information

     Kiriakou is accused of disclosing three types of classified

information to two journalists.       In Counts I and II, Kiriakou is

charged with disclosing to a journalist ("Journalist A") the

identity of a covert CIA officer ("Covert Officer A") as well as

the fact that Covert Officer A was a branch chief in a

particular CIA office and was associated with the CIA's

Rendition, Detention, and Interrogation Program (the "RDI

program").   Specifically, on July 11, 2008, Kiriakou allegedly

informed Journalist A    that Covert Officer A     had been his branch

chief in a particular office, and on August 19, 2008, he emailed

Journalist A the first and last name of Covert Officer A,

stating that "[i]t came to me last night."         See Indictment Count

I Ufl 3(a), 6.    Covert Officer A's association with the CIA had

been classified for more than twenty years and his involvement

with the RDI program was also classified.         Indictment H 11.
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 5 of 21 PageID# 366



      In Counts III and IV, Kiriakou is charged with disclosing

to Journalist A and another journalist ("Journalist B") the

association of a non-covert CIA employee ("Officer B") with the

RDI program and the CIA's March 2002 RDI operation to capture

terrorism suspect Abu Zubaydah.        See id. M    10, 12.   Count III

alleges that in a May 29, 2008 email, Kiriakou informed

Journalist B that Officer B was in Pakistan in March 2002,

"thereby confirming Officer B's participation in the RDI Program

and the Abu Zubaydah operation, information which was then

classified."     Id. Count III U 5.     The next month, Journalist B

"publicly identified Officer B and purported to describe Officer

B's role in the Abu Zubaydah operation in an article,           'Inside

the Interrogation of a 9/11 Mastermind,' published in The New

York Times."     Id. H 3.

      Count IV alleges that on November 12, 2007, Kiriakou

provided the personal email address of Officer B to Journalist

A.   Id. Count IV H 3.      Then, in an email dated May 17, 2008,

Journalist A questioned Kiriakou about enhanced interrogation

techniques, asking,    "[i]n [Country X] and then in [another

specific country], was [first name of Officer B] trained to do

the techniques, or was he just asking the questions as the

heavies were doing the various techniques[?]"           Id. H 4.   Three

days later,    Kiriakou responded that "[First name of Officer B]

was not trained in the enhanced techniques.          He was simply there
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 6 of 21 PageID# 367



to ask the questions that the analysts had posed....Your

assertion on individual roles is correct."                Id.    (alteration and

omission in original).          On November 12, 2008, Kiriakou allegedly

again confirmed to Journalist A that Officer B was associated

with the RDI program.          Id. fl 5.

                                   II.     DISCUSSION


     A. The Statutes


     In Count I, Kiriakou is charged with violating the

Intelligence Identities Protection Act, 50 U.S.C. § 421(a)

("IIPA"), which provides:

     Whoever,       having   or    having    had   authorized     access    to
     classified information that identifies a covert agent,
     intentionally discloses any information identifying
     such covert agent to any individual not authorized to
     receive  classified  information,  knowing  that  the
     information disclosed so identifies such covert agent
     and that the United States is taking affirmative
     measures to conceal such covert agent's intelligence
     relationship to the United States, shall be fined
     under title 18, United States Code, or imprisoned not
     more than 15 years,          or both.

The IIPA defines "covert agent" as:

  (A)         [A] present or retired officer or employee of an
              intelligence agency or a present or retired member
              of the Armed Forces assigned to duty with an
              intelligence agency—

        (i)       whose identity as such an officer,            employee, or
                  member is classified information, and
        (ii)      who is serving outside the United States or has
                  within the    last     five years     served outside     the
                  United States; or
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 7 of 21 PageID# 368



  (B)   a      United      States        citizen      whose        intelligence
        relationship         to   the    United     States    is        classified
        information,       and—

        (i)         who resides and acts    outside  the United
                    States as   an agent of,   or informant or
                    source  of  operational  assistance to,  an
                    intelligence agency, or
        (ii)        who is at the time of the disclosure acting
                    as an agent of, or informant to, the foreign
                    counterintelligence or ... counterterrorism
                    components   of   the  Federal   Bureau   of
                    Investigation; or

  (C)   an individual,        other than a United States citizen,
        whose past or present intelligence relationship to
        the United States             is classified information and who
        is a present or former agent of, or a present or
        former informant or source of operational assistance
        to, an intelligence agency.

50 U.S.C.   § 426 (4) .

     Counts II through IV allege violations of 18 U.S.C.

§ 793(d), which imposes criminal penalties on:

     Whoever,  lawfully having possession of, access to,
     control over, or being entrusted with any document,
     writing, code book, signal book, sketch, photograph,
     photographic negative, blueprint, plan, map, model,
     instrument,   appliance,  or   note  relating  to  the
     national   defense,  or  information  relating to  the
     national defense which information the possessor has
     reason to believe could be used to the injury of the
     United States or to the advantage of any foreign
     nation, willfully communicates, delivers, transmits or
     causes    to   be    communicated,        delivered,     or    transmitted
     or attempts to communicate,              deliver,   transmit or cause
     to be communicated,            delivered or transmitted the              same
     to any person not entitled to receive it, or willfully
     retains    the   same    and     fails   to   deliver   it    on   demand   to
     the officer or employee of the United States entitled
     to receive it        ...     .
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 8 of 21 PageID# 369



Id. (emphasis added).       Kiriakou is charged under the provision
prohibiting unauthorized disclosure of "information relating to
the national defense which information the possessor has reason

to believe could be used to the injury of the United States or

to the advantage of any foreign nation."             He argues that both

statutes are unconstitutionally vague and overbroad.                Each

challenge will be addressed in turn.

     B. Vagueness


     The vagueness doctrine is "rooted in due process principles

and is basically directed at lack of sufficient clarity and

precision in the statute."       United States v. Morison, 844 F.2d

1057, 1070 (4th Cir. 1988)(footnote omitted).             A statute is

impermissibly vague if it "either forbids or requires the doing

of an act in terms so vague that men of common intelligence must

necessarily guess at its meaning and differ as to its

application."   Id. (internal quotation marks omitted (quoting

Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1926))).                   In

upholding the constitutionality of another statute attacked on

vagueness grounds, the Supreme Court explained:

     [A]Ithough the prohibitions [of a statute] may not
     satisfy those intent on finding fault at any cost,
     they are set out in terms that the ordinary person
     exercising ordinary common sense can sufficiently
     understand and comply with,           without     sacrifice    to    the
     public interest.   The general class of offense [sic]
     to which the provisions are directed is plainly within
     their   terms,   and    they   will    not   be    struck     down    as
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 9 of 21 PageID# 370



       vague, even though marginal cases could be put where
       doubts might arise.

Arnett v. Kennedy, 416 U.S. 134, 159 (1974) (quoting Civil Serv.

Comm'n v. Nat'l Ass'n of Letter Carriers, 413 U.S. 548, 578-79

(1973)) (internal quotation marks and alterations omitted).

Accordingly, "courts considering vagueness challenges require

that criminal statutes 'either standing alone or as construed,

make reasonably clear at the relevant time that the defendant's

conduct was criminal.'"       United States v. Rosen, 44 5 F. Supp. 2d

602, 618 (E.D. Va. 2006) (quoting United States v. Lanier, 520

U.S.   259,   266 (1997)) .

         1. 50 U.S.C.   § 421(a)

       Kiriakou argues that § 421 is unconstitutionally vague

because the statute does not define the "affirmative measures"

that the Government must take to conceal a covert agent's

identity to trigger application of the statute.          This challenge

is without merit.


       Under Morison,   "if one is not of the rare 'entrapped'

innocents but one to whom the statute clearly applies,

irrespective of any claims of vagueness, he has no standing to

challenge successfully the statute under which he is charged for

vagueness."      844 F.2d at 1071; see also Holder v. Humanitarian

Law Project, 130 S. Ct. 2705, 2719 (2010)        ("[E]ven to the extent

a heightened vagueness standard applies [to speech], a plaintiff
 Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 10 of 21 PageID# 371



whose speech is clearly proscribed cannot raise a successful

vagueness claim under the Due Process Clause of the Fifth

Amendment for lack of notice. And he certainly cannot do so

based on the speech of others.").        Despite defendant's assertion

that the statute is so vague that there is "no way to determine

in advance whether any particular disclosure is prohibited by

the statute," and that a person is therefore left to "'guess its

meaning,'" see Def.'s Mem. at 11 (quoting United States v.

Lanier, 520 U.S. at 266), there is no question that defendant, a

person who possessed a top secret security clearance, was on

clear notice of the illegality of disclosing the identity of a

covert agent.    Whether Officer A was a covert agent is, of

course, an evidentiary issue for trial.

     As the Government rightly argues,        § 421(a) applies only to

a limited class of persons,     those who "had authorized access to

classified information that identifies a covert agent."            This

limitation narrows the application of the statute to persons who

are by definition aware of the extremely sensitive nature of

classified information, their responsibilities in handling it,

and the "affirmative measures" the agency takes to protect the

secrecy of covert agents.      Kiriakou signed numerous secrecy and

non-disclosure agreements that clearly articulated his

responsibilities regarding such information and the risks

associated with unauthorized disclosure.         Kiriakou has no


                                    10
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 11 of 21 PageID# 372



 credible argument that the term "affirmative measures" is so

 vague that he lacked adequate warning as to the conduct

 proscribed, such that his due process rights were violated.             For

 all of these reasons, defendant's vagueness challenge to
 § 421(a)   will be denied.

         2. 18 U.S.C.   § 793(d)

      Defendant argues that the phrases "information relating to
 the national defense" and "could be used to the injury of the
United States or to the advantage of any foreign nation" in

 § 793(d) are unconstitutionally vague.        He recognizes that he
faces an uphill battle, as both the Fourth Circuit and this

district have previously upheld the statute against vagueness
challenges to the same language.          Specifically, in Morison, the
Fourth Circuit found the phrase "relating to the national

defense" in § 793(d) constitutional in light of the scienter
requirement and the district court's jury instructions defining
"willfully" and "national defense."3         844 F.2d at 1071-72


  The jury instructions had defined "national defense" to include
"all matters that directly or may reasonably be connected with
the defense of the United States against any of its enemies. It
refers to the military and naval establishments and the related
activities of national preparedness. To prove that the
documents or the photographs relate to national defense there
are two things that the government must prove. First, it must
prove that the disclosure of the photographs would be
potentially damaging to the United States or might be useful to
an enemy of the United States. Secondly, the government must
prove that the documents or the photographs are closely held in
that [they]...have not been made public and are not available to
                                     11
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 12 of 21 PageID# 373



 (internal quotation marks omitted) (citing United States v.
 Dedeyan, 584 F.2d 36, 39 (4th Cir. 1978) (holding that the
 phrase "relating to the national defense" is not

 unconstitutionally vague in the context of § 793(f)(2) because

 the phrase "has a well understood connotation")).

      As the Government correctly argues, the Fourth Circuit has

held that vagueness concerns can be cured by the statute's
requirement that any communication of protected information be

willful, i.e., that the defendant "acted with knowledge that his
conduct was unlawful."      United States v. Bursey, 416 F.3d 301,
309 (4th Cir. 2005) (quotation omitted); see Morison, 844 F.2d

at 1071 (affirming definition of "willful" as "done voluntarily
and intentionally and with the specific intent to do something
that the law forbids.      That is to say, with a bad purpose either

to disobey or to disregard the law")(emphasis in original).             The
Morison court also found that jury instructions on "national

defense" and willfulness "removed any possibility of vagueness
in the application of the statutes."         Morison, 844 F.2d at 1072.
     This conclusion is consistent with the commonsense

proposition that "where the punishment imposed is only for an
act knowingly done with the purpose of doing that which the
statute prohibits, the accused cannot be said to suffer from


the general public."     Morison, 844 F.2d at 1071-72 (alteration
and omission in original).
                                     12
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 13 of 21 PageID# 374



 lack of warning or knowledge that the act which he does is a
 violation of law."     Screws v. United States, 325 U.S. 91, 102
 (1945); see also United States v. Jaensch, 678 F. Supp. 2d 421,
 433 (E.D. Va. 2010) ("[W]hen a statute imposes a scienter
 requirement to the effect that the defendant should have known
of the unlawfulness of his conduct, it is impossible, as a
matter of logic, that he would lack adequate notice of the

unlawfulness of his conduct.")(citation omitted).            Again, as
with § 421(a), at this stage there is no reason to find that

Kiriakou was not fully aware that the identity of a covert agent
was "information relating to the national defense," the

unauthorized disclosure of which "could be used to the injury of
the United States or to the advantage of any foreign nation."
      Courts have reaffirmed the constitutionality of § 793 in

the aftermath of Morison.       See United States v. Rosen, 445 F.

Supp. 2d 602 (E.D. Va. 2006) (rejecting a vagueness challenge to
§ 793(d) and (e)).     Using the analysis articulated in Rosen, to
satisfy the element of "information relating to the national
defense," the Government must prove "(i) that the information is

closely held by the government and (ii) that the information is
the type of information that, if disclosed, could harm the

United States."    Id^ at 618.     The latter prong is satisfied if
there is an "occasion for secrecy," meaning that disclosure
"implicates an important government interest such as the

                                    13
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 14 of 21 PageID# 375



 national security."     Id^ at 621 (citation omitted).        As in

 Morison, Rosen focused on the limiting effect of the statute's
 "willfulness" and "reason to believe" elements,4 concluding that
 these two prongs save the phrase "information relating to the
national defense" from "fatal vagueness" and enabled it to

 "pass[] Due Process muster."       Id^ at 622 ("[G]iven these two
limitations the phrase provides fair notice of what it

encompasses and is also an adequate safeguard against arbitrary
enforcement."); cf^ United States v. Drake, 818 F. Supp. 2d 909,
918-19 (D. Md. 2011) (reviewing precedent rejecting vagueness
challenges to the phrase "relating to the national defense" and

concluding that it is not unconstitutionally vague in the
context of § 793(e)).

      In an attempt to avoid the weight of this precedent,

Kiriakou argues that § 793(d) is still unconstitutionally vague
because courts have relied on the classified status of

information to determine whether it is closely held by the
government and harmful to the United States.          In defendant's

view, any reliance placed on the classification system is


 As the Government correctly argues, the "reason to believe
could" cause injury language applies to intangible communication
only, not to documents or other tangibles. This language
heightens the scienter requirement with respect to conduct such
as that alleged here. See Rosen, 445 F. Supp. 2d at 626
(explaining that the "reason to believe" language "is intended
to heighten the government's burden when defendants are accused
of communicating intangible information").
                                     14
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 15 of 21 PageID# 376



 undermined by the government's purported over-classification of

 information that would not in fact threaten the security of the
 United States if made public.

      Regardless of whether the "government itself acknowledges
 that it over-classifies a great deal of information," as

defendant argues, Def.'s Mem. at 13, the classification system
is the purview of the executive branch; accordingly, the Court
declines to second-guess the CIA's classification decisions.

See El-Masri v. United States, 479 F.3d 296, 305 (4th Cir. 2007)

(observing that courts are "ill-equipped to become sufficiently
steeped in foreign intelligence matters to serve effectively in
the review of secrecy classifications in that area" (quoting
United States v. Marchetti, 466 F.2d 1309, 1318 (4th Cir.

1972))); United States v. Snepp, 897 F.2d 138, 141 n.2 (4th Cir.

1990) ("Courts must avoid second-guessing the CIA's decision to

classify information because they have only a limited knowledge
of foreign intelligence matters.").

     The policy reasons for this approach are self-evident.             As

the Fourth Circuit has explained, "[t]he executive branch's

expertise in predicting the potential consequences of

intelligence disclosures is particularly important given the
sophisticated nature of modern intelligence analysis, in which
the significance of one item of information may frequently
depend upon knowledge of many other items of information, and

                                     15
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 16 of 21 PageID# 377



 what may seem trivial to the uninformed, may appear of great
 moment to one who has a broad view of the scene and may put the
 questioned item of information in its proper context."            El

 Masri, 479 F.3d at 307 (citation, internal quotation marks, and
alterations omitted) (quoting Marchetti, 466 F.2d at 1318).               For
 these reasons, defendant's argument that perceived failures of

the classification system are relevant to the constitutional

analysis here is unpersuasive.        Moreover, defendant cannot

reasonably argue that the classified status of a covert agent
and the RDI program did not put him on notice that the

information was closely held by the government, related to the

national defense, and could harm the United States if disclosed.5

For all of these reasons, defendant's vagueness challenge to §
793(d) will be denied.6

        C. Overbreadth


     Defendant also argues that § 421(a) and § 793(d) are

overbroad in contravention of his First Amendment rights.               For

many of the same reasons discussed above, this challenge fails.


 Of course, at trial the Government must prove that the
disclosed information was "relating to the national defense,"
which is an evidentiary question.
  Kiriakou argues that the narrower prohibitions of § 421, such
as limiting the definition of covert agents to those who have
served overseas in the last five years, illustrates that
§ 793(d) is vague in comparison.         This argument is unavailing;
§ 793(d) is not unconstitutionally vague merely because it
encompasses more conduct than the narrowly-targeted § 421.
                                    16
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 17 of 21 PageID# 378



      The Supreme Court has held that when the First Amendment is
 implicated, a party may "argue that a statute is overbroad
 because it is unclear whether it regulates a substantial amount
 of protected speech."     United States v. Williams, 553 U.S. 285,
 304 (2008) (quoting Hoffman Estates v. Flipside, Hoffman
 Estates, Inc., 455 U.S. 489, 494-95 & nn. 6-7 (1982)).
The Court has "provided this expansive remedy out of concern
that the threat of enforcement of an overbroad law may deter or
 'chill' constitutionally protected speech-especially when the
overbroad statute imposes criminal sanctions."           Virginia v.
Hicks, 539 U.S. 113, 119 (2003)(citation omitted).

Nevertheless, invalidating a statute due to overbreadth is

disfavored because of the "social costs created by the...doctrine
when it blocks application of a law to constitutionally
unprotected speech, or especially to constitutionally
unprotected conduct."      Id^; see Broadrick v. Oklahoma, 413 U.S.

601, 613 (1973) (explaining that application of the overbreadth

doctrine is done "sparingly and only as a last resort").
     Where allegations concern conduct, rather than pure speech,
"the overbreadth of a statute must not only be real, but
substantial as well, judged in relation to the statute's plainly
legitimate sweep."     Morison, 844 F.2d at 1075 (quoting
Broadrick, 413 U.S. at 615)(internal quotation marks omitted).
If a statute is overbroad, it cannot be enforced "until and

                                    17
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 18 of 21 PageID# 379



 unless a limiting construction or partial invalidation so

 narrows it as to remove the seeming threat or deterrence to

 constitutionally protected expression."             Hicks, 53 9 U.S. at 119
 (quoting Broadrick, 413 U.S. at 613)(internal quotation marks
 omitted).


      The Fourth Circuit has articulated three circumstances in

 which the overbreadth doctrine may properly be applied:
      1) [W]hen    the   governmental         interest   sought        to     be
         implemented     is    too     insubstantial,     or     at     least
         insufficient in relation to the inhibitory effect
         on [F]irst [A]mendment freedoms;
      2) when the means employed bear little relation to the
         asserted governmental interest; and
      3) when the means chosen by the legislature do in fact
         relate to a substantial governmental interest, but
         that interest could be achieved by a less drastic
         means--that     is,   a     method   less    invasive    of        free
         speech interests.

Morison, 844 F.2d at 1075 (quoting Martin H. Redish, The Warren
Court, the Burger Court and the First Amendment Overbreadth

Doctrine, 78 N.W. U. L. Rev. 1031, 1035 (1983)).               As the Fourth

Circuit explained, the espionage statutes undoubtedly do not
fall into the first two categories given that there exists a

substantial governmental interest in proscribing the disclosure
of classified information and the relevant statutes are directly
related to achieving this end.          Id^ at 1076 (discussing § 793) .
Accordingly, the only remaining question is whether Congress
could have used less drastic means to achieve its legitimate
objective.   Id.


                                       18
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 19 of 21 PageID# 380



         1. 50 U.S.C.   § 421(a)

      Kiriakou maintains that § 421(a) is unconstitutionally
 overbroad because the Government need not prove that a defendant

 intended to harm the United States or had reason to believe that
 disclosing the information would cause harm to the United States
or benefit an enemy.      Def.'s Mem. at 15.      In defendant's view,
the statute improperly balances First Amendment and Government

interests because "it penalizes speech well beyond those
instances where the government needs to maintain secrecy in
order to prevent actual harm to the national security."             id. at
15-16.


     Section 421 targets a narrow class of persons and conduct:

the intentional disclosure of classified information identifying

a covert agent by a person with authorized access to such

information.    "[T]he First Amendment imposes no blanket

prohibition on prosecutions for unauthorized leaks of damaging
national security information...."       Morison, 844 F.2d at 1085

(Wilkinson, J., concurring).       The identity of a covert officer
is information that goes to the heart of the nation's

intelligence activities, and its disclosure could very well
threaten the personal safety of the agent whose identity is
revealed as well as undermine confidence in the Government's

ability to protect its covert officers.         This very real danger
places exposure of a covert agent's identity in a unique class

                                    19
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 20 of 21 PageID# 381



 of cases.    See icL at 1081 (recognizing a legitimate need for
 secrecy because "[w]hen the identities of our intelligence
 agents are known, they may be killed"); cf^ In re Grand Jury
 Subpoena, Judith Miller, 438 F.3d 1141, 1173-74 (D.C. Cir. 2005)
 (Tatel, J., concurring in the judgment) (explaining in the
 testimonial privileges context that "[l]eaks similar to the
 crime suspected here (exposure of a covert agent) apparently
 caused the deaths of several CIA operatives in the late 1970s

 and early 1980s, including the agency's Athens station chief"
 (citing Haig v. Agee, 453 U.S. 280, 284-85 & n. 7 (1981))).
      Even assuming arguendo the existence of a hypothetical
scenario justifying disclosure of a covert agent's identity,
 "[t]he mere fact that one can conceive of some impermissible
applications of a statute is not sufficient to render it

susceptible to an overbreadth challenge."          Williams, 553 U.S. at
303 (quoting Members of City Council of L.A. v. Taxpayers for
Vincent, 466 U.S. 789, 800 (1984)) (internal quotation marks
omitted).    Accordingly, the Court finds that § 421(a) is not
unconstitutionally overbroad.

        2. 18 U.S.C.   § 793(d)

     The Fourth Circuit has also upheld § 793(d) against an
overbreadth challenge, relying on the district court's limiting
definitions of the statutory terms "national defense" and "one
not entitled to receive."      Morison, 844 F.2d at 1076; see also

                                    20
  Case 1:12-cr-00127-LMB Document 62 Filed 08/08/12 Page 21 of 21 PageID# 382



 Rosen, 445 F. Supp. 2d at 643 ("So construed, the statute is

 narrowly and sensibly tailored to serve the government's
 legitimate interest in protecting the national security, and its
 effect on First Amendment freedoms is neither real nor

 substantial as judged in relation to this legitimate sweep.").
 Kiriakou acknowledges the force of this precedent, but argues
 that these decisions did not properly balance the competing
interests between national security and free speech.              For the
reasons discussed above, the Court rejects defendant's argument
that the statute is overbroad due to the purported over-
classification of information and the First Amendment interests
at stake; accordingly, the Court will not reconsider the

precedent set in Morison and Rosen and will uphold the
constitutionality of § 793(d).

                             III.   CONCLUSION

     For the foregoing reasons, the Court finds that § 793(d)
and § 421(a) are constitutional and will therefore deny
defendant's Motion to Dismiss by an Order that will accompany
this Memorandum Opinion.

     Entered this     %    day of August, 2012.

Alexandria, Virginia


                                                            /s/      ^
                                              Leonie M. Brinkema
                                              United States District Judge


                                    21
